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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.                                                 Criminal Action No. 21-537 (JMC)

 RYAN SAMSEL, ET AL.,

                    Defendants.



                                     ORDER TO SHOW CAUSE

        For the reasons stated on the record during the status conference held today, June 15, 2022,

it is hereby

        ORDERED that the Federal Detention Center in Philadelphia, Pennsylvania (FDC

Philadelphia), make Defendant Ryan Samsel available for a video or telephone conference with his

attorneys in this case, Stanley Woodward and Juli Haller, within the following time frame:

               x   Any time after 12:00 PM on Thursday, June 16, 2022; or

               x   Any time before 10:00 AM on Friday, June 17, 2022; and

        ORDERED that FDC Philadelphia afford Mr. Samsel at least one hour for this conference

with his attorneys. It is further

        ORDERED that, if FDC Philadelphia does not make Mr. Samsel available for a conference

with his attorneys within the time frame stated above, a representative from the facility, and/or the

Bureau of Prisons or the United States Marshals Service, shall appear at the status conference

scheduled for this Friday, June 17, 2022, at 10:00 AM, via telephone, to show cause as to why the

facility was unable to comply with this Order.
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        SO ORDERED.

Date:     June 15, 2022
                                                JIA M. COBB
                                                United States District Judge




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